Case 2:19-cv-00287-GZS Document 2-3 Filed 06/21/19 Pagelof5 PagelD#:9

STATE OF MAINE
YORK, SS. SUPERIOR COURT
Docket No.
Bridget Hale
36 Tamarack Street
South Berwick, ME 03908
Plaintiff
Vv. COMPLAINT AND.

REQUEST FOR JURY TRIAL
Owl Companies

2465 Campus Drive
Irvine, California 92612

Del-Jen, Inc.
4465 Guthrie Highway
Clarksville, TN 37040

Career Systems Development Corp.
75 Thruway Park Drive, Suite 100
Irvine, CA 92612

Fluor Corporation
6700 Las Colinas Blvd.
Irving, TX 75039

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Defendants

NOW COMES the Plaintiff, Bridget Hale, by and through her attorneys, Boynton,
Waldron, Doleac, Woodman & Scott, PA., and respectfully submits this Complaint and Request
for Jury Trial against the Defendants, Owl Companies; Del-Jen, Incorporated; Career Systems

Development Corporation; and Fluor Corporation, stating in support thereof as follows:

THE PARTIES

L. Plaintiff, Bridget Hale, is a resident of the State of Maine, residing at 36
Case 2:19-cv-00287-GZS Document 2-3 Filed 06/21/19 Page2of5 PagelD #: 10

Tamarack Street, South Berwick, Maine 03908.

2. Defendant, Ow! Companies is, upon information and belief, is a California
Corporation, and is responsible for operating Penobscot Job Corps Center, and is located at 2465
Campus Drive in Irvine, California 92612

3. Defendant, Del-Jen, Inc., is, upon information and belief, a Tennessee
Corporation, and a subsidiary corporation of Fluor Corporation, and upon information and belief,
is responsible for operating and/or managing the Penobscot Job Corps Center located at 1375
Union Street in Bangor, Maine 04401, and is headquartered at 4465 Guthrie Highway,
Clarksville, TN 37040.

4, Defendant, Career Systems Development Corporation, upon information and
belief, is a New York Corporation, that oversees the Penobscot Job Corps Program, and is
located at 75 Thruway Park Drive, Suite 100, Henrietta, NY 14586.

5, Defendant, Fluor Corporation is, upon information and belief, the parent company
of Del-Jen, Inc., and is located at 6700 Las Colinas Boulevard, Irving, TX 75039.

FACTUAL BACKGROUND

6. On or about November 20, 2015, Bridget Hale was a student under the care,
supervision, and control of the Defendants, as she was a resident student at the so called
Penobscot Job Corps Center, and Plaintiff was living in the dorms at the Center.

7. On or about November 20, 2015, the Plaintiff was allowed to leave the Penobscot
Job Corps Center campus with a fellow student, contrary to the agreed upon protocol between
the Defendants, their agents and representatives and the Plaintiff, and the Plaintiff's mother.
Plaintiff and the fellow student were allowed to leave campus and go to a local hotel.

8, While at the hotel the fellow student sexually assaulted the Plaintiff causing
Case 2:19-cv-00287-GZS Document 2-3 Filed 06/21/19 Page3of5 PagelD#: 11

severe and permanent mental and emotional injuries, and other damages as set forth herein.

COUNT I (Negligence)

9. Plaintiff incorporates by reference herein the allegations contained in the
preceding paragraphs, as if fully set forth herein, and by way of further pleadings states as
follows:

10, At all times relevant hereto the Plaintiff was under the care, supervision, and
control of the Defendants, their agents, employees and representatives. The Defendants owed a
duty to the plaintiff to exercise reasonable care, supervision, and control of the Plaintiff and her
fellow students and to exercise reasonable measures to protect and warn the students from injury
and harm including the duty to supervise, monitor, and control the students residing at facilities
owned, operated and/or managed by the Defendants. Defendants owed a further duty to adhere
to the agreed upon protocol for situations where the Plaintiff was to leave campus,

11. The Defendants breached their duties of care to the plaintiff and so negligently
failed to care for, supervise, monitor, and control their students including the Plaintiff by
allowing her to leave the campus, and to go to a hotel where she was subsequently repeatedly
sexually assaulted.

12, Asadirect and proximate cause and result of the Defendants’ breaches of duties
of care and negligence, the plaintiff, suffered severe and permanent numerous damages and
losses including, but not limited to, serious personal injury, severe and permanent emotional and
mental injuries, extreme pain and suffering, numerous medical procedures and therapies, large
and continuing medical expenses, emotional distress and mental anguish, loss of enjoyment of

life, lost wages and potential lost earning capacity, the costs and expense of litigation, and that
Case 2:19-cv-00287-GZS Document 2-3 Filed 06/21/19 Page4of5 PagelD#: 12

the plaintiff will continue to suffer from the injuries, damages, and losses of the same for a long
tume in the future; all to the damage of the plaintiff, the Plaintiff, as she says, within the

minimum and maximum jurisdictional limits of this Court, plus interests and costs.

COUNT II] (Negligent Infliction of Emotional Distress)

13. Plaintiff incorporates by reference herein the allegations contained in the
preceding paragraphs, as if fully set forth herein, and by way of further pleadings states as
follows:

14. Atall relevant times, Defendants owed a duty to use reasonable care in their
interactions, care, custody and control of the Plaintiff. |

15, Nevertheless and wholly unmindful of the foregoing, Defendants breached this
duty thereby causing Plaintiff to suffer severe physical injuries and pain and severe emotional

distress and damages as aforesaid.

COUNT IV (In Loco Parentis)

16. Plaintiff incorporates by reference herein the allegations contained in the
preceding paragraphs, as if fully set forth herein, and by way of further pleadings states as
follows:

17, At all relevant times, while Plaintiff was enrolled at the Defendants school and/or
residential facility, she was without the protection of her parents. |

18. Defendants, their employees and representatives maintained a special relationship
with the Plaintiff while she was enrolled there and Defendants were required to|give her the

protection which the custody deprived them and to provide her with reasonable supervision.
Case 2:19-cv-00287-GZS Document 2-3 Filed 06/21/19 Page5of5 PagelD #: 13

19, As a direct, proximate, and foreseeable result of Defendants’ actions in Joco

 

parentis Plaintiff was caused to suffer severe physical injuries and pain and severe emotional

suffering and damages as aforesaid.

JURY DEMAND
Plaintiff demands that this matter be tried to a Jury.
WHEREFORE, the plaintiff prays that this Honorable Court:
A. Allow the entry of judgment consistent with the jury’s determination on all claims
and with the determination for full and fair compensation in favor of the plaintiff as
allowed in law and equity; and

B. The allowance of such further relief as justice and equity require.

RESPECTFULLY SUBMITTED
Bridget Hale

By her attorneys:

Boynton, Waldron, Dea, Woodman & Scott
Dated:'7/ L3 | 9 By: / VL
Francis;X: Quinn, Jr., (ME Bar #:6855 )
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